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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT BECKLEY


MARLAND E. WILLIS,


         Petitioner,

v.                                             CIVIL ACTION NO. 5:04-0839
                                         CRIMINAL ACTION NO. 5:03-0032-04

UNITED STATES OF AMERICA,


         Respondent.


                             MEMORANDUM OPINION

         On August 9, 2004, petitioner filed a petition under 28

U.S.C. § 2255 contending a term of incarceration that was imposed

upon him on August 28, 2003, was unconstitutional.1               (See Doc. No.

162.)     Petitioner supports this contention through recourse to

the Supreme Court’s holding in Blakely v. Washington, 542 U.S.

65, 68 (2004), which held that imposition of a sentencing

enhancement based solely on the findings of a sentencing court

violated a defendant’s rights under the Sixth Amendment to the

United States Constitution.2          (See id. at 5.)


     1
          By Standing Order, this case was initially referred to a
magistrate judge for preparation of proposed findings and
recommendation as to disposition. (Doc. No. 167.) To expedite
this case’s disposition, the court hereby VACATES the Standing
Order, only as applied to this case.
     2
          Since the time petitioner filed his claim, the Supreme
Court decided United States v. Booker, 543 U.S. 220 (2005), which
applied Blakely to the federal sentencing guidelines.
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        28 U.S.C. § 1915A(a) directs courts to review complaints

filed by prisoners against the government “before docketing, if

feasible or . . . as soon as practicable after docketing” to

ascertain whether they contain valid claims.            Section 1915A(b)(1)

directs the court to dismiss any complaint, or portions of any

complaint, which contain claims that are “frivolous, malicious,

or fail[] to state a claim upon which relief may be granted.”

Id.

        In United States v. Morris, 429 F.3d 65, 69-72 (4th Cir.

2005), the Fourth Circuit held that the decisions in Blakely and

Booker are not available for post-conviction relief for federal

prisoners whose convictions became final before Blakely and

Booker were decided.      See also United States v. Cruz, 423 F.3d

1119, 1120 (9th Cir. 2005) (listing appellate decisions finding

that Booker does not apply retroactively).            The Morris holding

bars petitioner’s claim in its entirety because petitioner’s

conviction was final at the time Blakely was handed down in June

2004.    As such, this claim must be dismissed pursuant to 28

U.S.C. § 1915A(b)(1).

        Because this case fails to state a claim upon which relief

can be granted, in a Judgment Order filed herewith, the court:

(1) DISMISSES petitioner’s writ of habeas corpus pursuant to 28

U.S.C. § 2255 (Doc. No. 162); and (2) DIRECTS the Clerk to remove

this action from the active docket of this court and to forward a



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certified copy of this Memorandum Opinion to all counsel of

record and the petitioner, pro se.

     IT IS SO ORDERED this 7th day of December, 2006.

                                           ENTER:



                                         David A. Faber
                                         Chief Judge




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